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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                               4:21CR3137

      vs.
                                                                ORDER
MANUEL J. GONZALEZ,

                    Defendant.



      After a review of the record, I find that the above-named defendant is eligible for
appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
Amended Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED that Robert G. Creager is appointed as attorney of record for the
above-named defendant in this matter and shall forthwith file an appearance in this
matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing the
name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska and Robert G. Creager.


      DATED this 18th day of November, 2021.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
